      Case 2:06-cr-20465-NGE-MKM ECF No. 1006, PageID.2617 Filed 12/17/09 Page 1 of 3
AO 199A (Rev. 6/97) Order Setting Conditions ofRelease                                                           Page 1 of        Pages


                                      UNITED STATES DISTRICT COURT

                                                         Eastern District of Michigan


               United States ofAmerica                                              ORDER SETTING CONDITIONS
                                                                                           OF RELEASE

                                          LJ-I                             Case Number:   g& -;20 <1&,s--/
                         Defendant

IT IS ORDERED that the release ofthe defendant is subject to the following conditions:

          (1) The defendantshall notcommit any offense-in violation of federal, state or 10caUaw while on release in this case.

          (2) The defendant shall iiDmediately adVise the court, defense counsel and the U.S. attorney in writing before any change in
          address and telephone number.

        ·{3-~-The   defendantshall appear at all proceedings_as required and shalLsurrenderfor serviceof.any sentence imposed as

             . . directed. The defendant shall appear at(ifblank, to be notified) 231 West Lafayette Detrojt MI -CourtmomNo
                                                                                                              Place
              """"""-                                    """"""-on   _--,-A'-lI6-..&"jdg,...c;:l/i~ec-..itt~~---------
                                                                                              Date and Time




                                        Release on PersonalRecognizance or Unsecured Bond

IT IS FURTHER ORDERED that the defendant be released provided that:

( t/ ) (4) The defendantpromises to appear at all proceedings as required andtosurrender for service ofany sentence imposed..

(/45) The defendant eXCClltes an unsecured bond binding the -defendant to pay· the United States.thesum-of

             ~ aXk5~UA4I1U~...::                                                                 do~ ($/9'0'l?e!L-.
           in: the-eventofafailure to-appear as required: or-to. surrender as directed for service of anysente11 ~impose<L
                                                                                                                                    )
                  Case 2:06-cr-20465-NGE-MKM ECF No. 1006, PageID.2618 Filed 12/17/09 Page 2 of 3
              AO 199B (Rev. 5199) Additional Conditions of F                                                                              Page                of          Pages
                                                                     Additional Conditions of Release
                       Upon finding that release by one of the above methods will not by itself reasonably assure the appearance of the defendant and the safety of
              other persons and the community.                                                                          .
              IT IS FURTHER ORDERED that the release of the defendant is subject to the conditions marked below:
              (      ) (6) The defendant is placed in the custody of:
                           (Name of person or organization)                         ---=-                                                      -'---          _
                           (Address)                                                                                                                          _
                            (City and state)                                                                  ('leI. No.)                                            _
              who agrees (a) to supervise the defendant in accordance with all the conditions ofrelease, (b) to use every effort to assure the appearance ofthe defendant
              at all scheduled court proceedings, and (c) to notify the court immediately in the event the defendant violates any conditions of release or disappears.

                                                                                                Signed:
                                                                                                          .                                                                  _


                                                                         eO
                                                                                                                    Custoftian or Proxy                            Date
                    ) (7)'!)ledefendant shalJ:JJ " 1 --I-:{ .< - ~                  0    l;U~J-1,"-i tcxLIS--6r1                                  3       X    u.. J   ~
                      (LV(a) report to the ~ ~                                     ,~                 ~ o..1yd~tJ-r;f'"hJa.c~~.;p,~
                                  telephone number                                 ,not later than                            .  11'11
                                                                                                                                     ~4t'~~.- ~~
                      ( ) (b)     execute a bond or an agreement to forfeit upon failing to appear as required the following sum of money or design«tedproPe~~ (L.
                                                        .                                                                                                              #~.
                      ()    (c)   post with the court the following indicia of ownership ofthe above-described property, or the following amount or percenta~atZ.,
                                  the above-described                                       _
                      ()    (d)
                      ()    (e)
                      () (0
                      ()    (g)




                      () (k)

                      ()    (l)   return to custody each (week)dayas of                 o'clock after being released each (week)day as of                                    _
                                  o'clock for employment, schooling, or the following limited purpose(s):                                                                    _

                      () (m) maintain residence at a halfway house or community corrections center, as deemed necessary by the pretrial
                            / ' services office or supervising officer.
                      (LV'(n) refrain from possessing a firearm, destructive device, or other dangerous weapons.
                      () (~refrain from ( ) any ( ) excessive use of alcohol.
                      (l)./(p) refrain from use or unlawful possession of a narcotic drug or other controlled substances defined in 21 U.S.C. § 802, unless pre­
                              ~nbed by a licensed medical p r a c t i t i o n e r . .                                             .
                      (\Y1Q) submit to any method of testing required by the pretrial sel-vices office or the supervising officer for determining whethel," the
                                defendant is using a prohibited substance. Such methods may be used with random frequency and include urine testing, the
                            /   wearing of a sweat patch, a remote alcohol testing system,' and/or any form of prohibited substance screening or testing.
                      (1,)/"(r) participate in a program of inpatient or outpatient substance abuse therapy and counseling if deemed advisable by the pretrial
                                services office or supervising officer.
                      () (s) refrain from obStructing or attempting to obstruct or,tamper, in any fashion, with the efficiency and accuracy of any prohibit sub­
                                stapce testing or electronic monitoring which is (are) required as a condition(s) of release.
                      (~ parti.-9Pate in one of the following home confinement program components and abide by all the requirements ofthe.program which
                                ("1'"will or ( ) will not include electronic monitoring or other location verification system. You shall pay all or part of the cost of the
                                program based upon your ability to pay as determined by the pretrial services office or supervising officer.
                                ( Xi) Curfew. You are restricted to your residence every day.(- )from                   to          ,or ( )as directed by the pretrial
                                    . /Services office or supervising officer; or                                                                         '
                                (4("ri) Home Detention. You are restricted to your residence at all times except for employment; education; religious services;
                                  .     medical, substance abuse, or mental health treatment; attorney visits; court appearances; court-ordered obligations; or
                                        other activities as pre-approved by the pretrial services office or supervising officer; or
                                ( Xiii) Home Incarceration. You are restricted to your residence at all times except for medical needs or treatment, religious
                                        services, and Court appearances pre-approved by the pretrial services office or supervising officer.
                            (u) report as soon as possible, to the pretrial ~rvices office or supervising officer any contact with any law enforcement personnel,

                     (0v)         in~~;lesitt7ft1s~p~
                                                    ~~
                     ( )    (w).~                                 ~   _ _~_ _~                                                                      ~..,...._..,....-..,...._-




                     () (x)

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,,~ '.   ".
                  WHITE COpy ---:COURT          YELLOW -:'OEFENDANT·        GREEN- PRETRIAL SERVICES.             BLUE -,.U.S. ATrORfIlEY.       PINK -   U.S. MARSHALL.
       Case 2:06-cr-20465-NGE-MKM ECF No. 1006, PageID.2619 Filed 12/17/09 Page 3 of 3
  AO 199C (Rev 6-91) Advice of Penalties...                                                                               Page _ _ of_ _ Pages


                                                              Advice of Penalties and Sanctions
  TO THE DEFENDANT:

  YOU ARE ADVISED OF THE FOLLOWING PENALTIES AND SANCTIONS:

       A violation of any of the foregoing conditions of release may result in the immediate issuance of a warrant for your arrest,
 .a revocation of release, an order of detention, and a prosecution for contempt of court and could result in a term of imprisonment,
  a fine, or both.
       The commission of a Federal offense while Qn pretrial release will result in an additional sentence of a term of imprisonment of
  not more than ten years, if the offense is a felony; or a term of imprisonment of not more than one year, if the offense is a misde­
  meanor. This sentence shall be in addition to any other sentence.
       Federal law makes it a crime punishable by up to 10 years of imprisonment, and a $250,000 fine or both to obstruct a criminal
  investigation. It is a crime punishable by up to ten years of imprisonment, and a $250,000 fine or both to tamper with a witness, vic­
  tim or informant; to retaliate or attempt to retaliate against a witness, victim or informant; or to intimidate or attempt to intimidate a
  witness, victim, jl,Iror, informant, or officer of the court. The penalties for tampering, retaliation, or intimidation are significantly
  more serious if they involve a killing or attempted killing.
       If after release,..You knowingly fail to appear as required by the conditions of release, or to surrender for the service of sentence,
  you may be prosecuted for failing to appear or surrender and additional punishment may be imposed. If you are convicted of:
       (1) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more, you shall be fined
          . not more than $250,000 or imprisoned for not more than 10 years, or both;
       (2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years, you shall be fmed not
            more than $250,000 or imprisoned for not more than five years, or both;
       (3) any other felony, you shall be fined not more than $250,000 or imprisoned not more than two years, or both;
       (4) a misdemeanor, you shall be fined not more than $100,000 or imprisoned not more than one year, or both.
       A term of imprisonment imposed for failure to appear or surrender shall be in addition to the sentence for any other offense.
  In addition, a failure to appear or surrender may result in the forfeiture of any bond posted.

                                                              Acknowledgement of Defendant
       I acknowledge that I am the defendant in this case and that lam aware of the conditions of release. I pro
  tions of release, to appear as directed, and to surrender for service of any sentence imposed. I am aware of the
  set forth above.




     L                                                       Directions to United States Marshal
 (     ) The defendant is ORDERED released after processing.
 (     ) The United States. marshal is ORDERED to keep the defendant in custody until notified by the clerk or judicial officer that the
         defendant has posted bond and/or complied with all other conditions for release. The defendant shall be produced before the
         appropriate judiCial officer at the time and place specified, if still in custody.

:.. Date:--fI-2----------'/~7'-----°----l7'----
                                                                                         .               ature of Judicial Officer
                                                                                        (
                                                                                                                  v~


 WHITE C.OPY - COURT                  YELLOW •. DEFENI>ANT          GREEN - PRETRIAL SERVICE      BLUE - U.S. ATTORNEY         . PINK· U.S. MARSHAL

                                                                                                                          ·U.S. GPO: 1999-761-onI8OO49·
